Case 18-15691-CMG Doc 43-8 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit F - 4-23-15 order in Engelberg Derivative Litigation Page 1 of 7




                            Exhibit F
FILED: NASSAU COUNTY CLERK 04/23/2015 02:31 PM                                  INDEX NO. 606919/2014
NYSCEF DOC.Case
            NO. 18-15691-CMG
                125              Doc 43-8 Filed 05/08/18 Entered 05/08/18      21:30:37
                                                                             RECEIVED    Desc 04/23/2015
                                                                                      NYSCEF:
                Exhibit F - 4-23-15 order in Engelberg Derivative Litigation Page 2 of 7
Case 18-15691-CMG Doc 43-8 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit F - 4-23-15 order in Engelberg Derivative Litigation Page 3 of 7
Case 18-15691-CMG Doc 43-8 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit F - 4-23-15 order in Engelberg Derivative Litigation Page 4 of 7
Case 18-15691-CMG Doc 43-8 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit F - 4-23-15 order in Engelberg Derivative Litigation Page 5 of 7
Case 18-15691-CMG Doc 43-8 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit F - 4-23-15 order in Engelberg Derivative Litigation Page 6 of 7
Case 18-15691-CMG Doc 43-8 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit F - 4-23-15 order in Engelberg Derivative Litigation Page 7 of 7
